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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
JON R. MORGAN,                                                 :   1:19-cv-10911-GBD
                                                               :
                                              Plaintiff,       :
                                                               :   NOTICE OF SETTLEMENT
                          -against-                            :
                                                               :
UNIQUE USA, INC.,                                              :
                                                               :
                                                               :
                                          Defendants.          :
---------------------------------------------------------------x


         Now comes Plaintiff and Defendant, by and through their respective counsel, to provide notice

to the Court that the present case has been settled in principle between Plaintiff and Defendant and

state:

    1. A Settlement Agreement (“Agreement”) is in the process of being finalized amongst the

         parties. Once the Agreement is fully executed, and Plaintiff has received the consideration

         required pursuant to the Agreement, the parties will submit a Stipulation of Dismissal with

         prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein

         request that the case be dismissed and closed.

    2. The parties respectfully request that the Court stays this case and adjourns all deadlines

         and conferences.

    3. We respectfully request the Court provide that the parties may seek to reopen the matter

         for forty-five (45) days to assure that the parties have complied with their obligations

         under the Agreement.
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Dated: October 29, 2020

SHALOM LAW, PLLC                    SHEPPARD, MULLIN, RICHTER & HAMPTON LLP



 ____/s/Jonathan Shalom__________           ______/s/ Sean J. Kirby___________
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